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UNITED STATES DISTRICT COURT                                       USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                      DOCUMENT
                                                                   ELECTRONICALLY FILED
                                                                   DOC #:
  TRIUMF HYSENI, on behalf of himself and                          DATE FILED: 11/15/2021
  others similarly situated,

  Plaintiffs,
                                                                   PROTECTIVE ORDER
  v.
                                                                     1:21-cv-06318-MKV
  ZIA MARIA LITTLE ITALY INC., IYAD
  KHALED HAMSHO,

  Defendants.



Mary Kay Vyskocil, United States District Judge:

       The parties having agreed to the following terms of confidentiality, and the Court having
found that good cause exists for issuance of an appropriately tailored confidentiality order
governing the pre-trial phase of this action, it is therefore hereby:

        ORDERED that any person subject to this Order, including without limitation the parties
to this action, their representatives, agents, experts, and consultants, all third parties providing
discovery in this action, and all other interested persons with actual or constructive notice of this
Order, shall adhere to the following terms, upon pain of contempt:

1. Any person subject to this Order who receives from any other person any “Discovery Material”
(i.e., information of any kind provided in the course of discovery in this action) that is designated
as “Confidential” pursuant to the terms of this Order shall not disclose such Confidential Discovery
Material to anyone else except as expressly permitted hereunder.

2. The person producing any given Discovery Material may designate as Confidential only such
portion of such material as consists of:

        (a) financial information previously nondisclosed to the public (including without
        limitation, tax returns, payroll records, receipts, financial records and reports, profitability
        reports or estimates, percentage fees, design fees, royalty rates, minimum guarantee
        payments, sales reports, and sale margins);

        (b) material previously nondisclosed to the public relating to ownership or control of any
        non-public company;




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       (c) business plans, product development information, or marketing plans previously
       nondisclosed to the public;

       (d) any information of a personal or intimate nature regarding any individual, including
       but not limited to all health care or medical information; or

       (e) any other category of information hereinafter given confidential status by the Court.

       Confidential information shall accordingly exclude (1) information which at or prior to its
disclosure in this action is or was publicly accessible or in the public domain or which, after
disclosure, becomes public without action on the producing party’s part; and (2) information that
was rightfully possessed by the party receiving it, and not otherwise subject to restrictions on its
disclosures, prior to its production in the proceedings of this action.

3. With respect to the Confidential portion of any Discovery Material other than deposition
transcripts and exhibits, the producing person or that person’s counsel may designate such portion
as “Confidential” by stamping or otherwise clearly marking as “Confidential” the document or
protected portion in a manner that will not interfere with legibility or audibility. Deposition
testimony may be designated as Confidential either on the record during the deposition or within
5 days of receipt of the transcript. If so designated, the final transcript of the designated testimony
shall be bound in a separate volume and marked “Confidential Information Governed by Protective
Order” by the reporter.

4. If at any time prior to the trial of this action, a producing person realizes that some portion[s] of
Discovery Material that that person previously produced without limitation should be designated
as Confidential, he may so designate by notifying all parties in writing, and such designated
portion[s] of the Discovery Material will thereafter be treated as Confidential under the terms of
this Order. In addition, the producing person shall provide each other party with replacement
versions of such Discovery Material that bears the “Confidential” designation within two (2)
business days of providing such notice.

5. No person subject to this Order other than the producing person shall disclose any of the
Discovery Material designated by the producing person as Confidential to any other person
whomsoever, except to:

       (a) the parties to this action and, with respect to Discovery Material designated as
       Confidential that was produced by a non-party, also to such non-party;

       (b) counsel retained specifically for this action, including any paralegal, clerical and other
       assistant employed by such counsel and assigned to this matter;

       (c) as to any document, its author, its addressee, and any other person indicated on the
       face of the document as having received a copy;

       (d) any witness who counsel for a party in good faith believes may be called to testify at
       trial or deposition in this action, provided such person has first executed a Non-
       Disclosure Agreement in the form annexed as an Exhibit hereto;
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       (e) any person retained by a party to serve as an expert witness or otherwise provide
       specialized advice to counsel in connection with this action, provided such person has
       first executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

       (f) stenographers engaged to transcribe depositions conducted in this action; and

       (g) independent photocopying, graphic production services, or litigation support services
       employed by the parties or their counsel to assist in this action and computer service
       personnel performing duties in relation to a computerized litigation system;

       (h) the Court and its support personnel; and

       (i) any other person whom the producing person, or other person designating the
       Discovery Material confidential pursuant to paragraph 8 below, agrees in writing may
       have access to such Discovery Material.

6. Prior to any disclosure of any Confidential Discovery Material to any person referred to in
subparagraphs 5(d) or 5(e) above, such person shall be provided by counsel with a copy of this
Protective Order and shall sign a Non-Disclosure Agreement in the form annexed as an Exhibit A
hereto stating that that person has read this Order and agrees to be bound by its terms. Said counsel
shall retain each signed Non-Disclosure Agreement, hold it in escrow, and produce it to opposing
counsel either prior to such person being permitted to testify (at deposition or trial) or at the
conclusion of the case, whichever comes first.

7. All Confidential Discovery Material sough to be used for any court filings, must first be
disclosed to the non-producing party as provided herein. Specifically, if the non-producing party
seeks to file with the Court any documents that are deemed Confidential, the non-producing party
must give the producing party at least 3 business days’ notice of this intent and the producing party
must then show good cause as to why the Court should permit filing of these documents under
seal. The parties further acknowledge that nothing herein shall prevent the Court and its personnel
from reviewing confidential information, provided the information is kept under seal until further
notice from the Court, or stipulation of the parties.

8. Any party who either objects to any designation of confidentiality, or who, by contrast, requests
still further limits on disclosure (such as “attorneys’ eyes only” in extraordinary circumstances),
may at any time prior to the trial of this action serve upon counsel for the designating person a
written notice stating with particularity the grounds of the objection or request. If agreement cannot
be reached promptly, counsel for all affected persons will convene a joint telephone call with the
Court to obtain a ruling.

9. All persons are hereby placed on notice that the Court is unlikely to seal or otherwise afford
confidential treatment to any Discovery Material introduced in evidence at trial, even if such
material has previously been sealed or designated as Confidential. The Court also retains discretion
whether or not to afford confidential treatment to any Confidential Document or information



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contained in any Confidential Document submitted to the Court in connection with any motion,
application, or proceeding that may result in an order and/or decision by the Court.

10. Each person who has access to Discovery Material that has been designated as Confidential
shall take all due precautions to prevent the unauthorized or inadvertent disclosure of such
material.

11. If, in connection with this litigation and despite a producing person having taken reasonable
steps to prevent the disclosure of information that it claims is subject to a claim of attorney-client
privilege or attorney work product, a party inadvertently discloses information subject to a claim
of attorney-client privilege or attorney work product protection (“Inadvertently Disclosed
Information”), such disclosure, in itself, shall not constitute or be deemed a waiver or forfeiture of
any claim of privilege or work product protection with respect to the Inadvertently Disclosed
Information and its subject matter.

12. If a disclosing party makes a claim of inadvertent disclosure, the receiving party shall, within
five business days of notice by the disclosing party, return or destroy all copies of the Inadvertently
Disclosed Information, and provide a written confirmation (via email is sufficient) that all such
information has been returned or destroyed.

13. Within five business days of the notification that such Inadvertently Disclosed Information has
been returned or destroyed, the disclosing party shall produce a privilege log with respect to the
Inadvertently Disclosed Information.

14. The receiving party may move the Court for an Order compelling production of the
Inadvertently Disclosed Information. The motion shall be filed under seal, and shall not assert as
a ground for entering such an Order the fact of the inadvertent production.

15. The disclosing party retains the burden of establishing the privileged or protected nature of any
Inadvertently Disclosed Information. Nothing in this Order shall limit the right of any party to
request an in camera review of the inadvertently Disclosed Information.

16. This Protective Order shall survive the termination of the litigation. Within 30 days of the final
disposition of this action, including all possible appeals and post-judgment enforcement efforts,
all Discovery Material designated as “Confidential,” and all copies thereof, shall be promptly
returned to the producing person, or destroyed and provide written confirmation (via email is
sufficient) that all such information has been returned or destroyed.

17. During the pendency of this case only, this Court shall retain jurisdiction over all persons
subject to this Order to the extent necessary to enforce any obligations arising hereunder or to
impose sanctions for any contempt thereof.




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So Agreed:

Law Offices of Jeffrey E. Goldman               Law Offices of Michael Chong, LLC
Plaintiffs’ Counsel:                            Defendant's Counsel:



_/s/ Jeffrey E Goldman_____                     Michael K. Chong
Jeffrey E. Goldman, Esq.                        Michael K. Chong, Esq.

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Ph#: (212) 983-8999                             Ph#: (201) 947-5200
Fx#: (646) 693-2289                             Fx#: (201) 708-6676



SO ORDERED.


Dated: 11/15/2021



_______________________________________
Mary Kay Vyskocil, U.S.D.J.




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                                           EXHIBIT A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 TRIUMF HYSENI, on behalf of himself and
 others similarly situated,

 Plaintiffs,
                                                         AGREEMENT TO BE BOUND BY
 v.                                                      DISCOVERY CONFIDENTIALITY
                                                                  ORDER
 ZIA MARIA LITTLE ITALY INC., IYAD
 KHALED HAMSHO,                                                      1:21-cv-06318-MKV

 Defendants.




I, _______________________________________, being duly sworn, state that:



       1.       My address is _____________________________________________________.


       2.       My present employer is ________________________________________ and the
                address of my present employment is ___________________________________.


       3.       My present occupation or job description is ______________________________.


       4.       I have carefully read and understood the provisions of the Discovery
                Confidentiality Order in this case signed by the Court, and I will comply with all
                provisions of the Discovery Confidentiality Order.


       5.       I will hold in confidence and not disclose to anyone not qualified under the
                Discovery Confidentiality Order any Confidential Material or any words,
                summaries, abstracts, or indices of Confidential Information disclosed to me.


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       6.       I will limit use of Confidential Material disclosed to me solely for purpose of this
                action.


       7.       No later than the final conclusion of the case, I will return all Confidential Material
                and summaries, abstracts, and indices thereof which come into my possession, and
                documents or things which I have prepared relating thereto, to counsel for the party
                for whom I was employed or retained.


I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.




___________________________________                     ___________________________________
Date                                                    Signature




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